           Case 2:20-cv-01719-RSL Document 45 Filed 12/27/21 Page 1 of 7



 1                                            THE HONORABLE ROBERT S. LASNIK

 2

 3

 4

 5
                      IN THE UNITED STATES DISTRICT COURT
 6                  FOR THE WESTERN DISTRICT OF WASHINGTON
                                   IN SEATTLE
 7

 8    BARCELO HOMES, INC., a Washington
      corporation; BARCELO MADISON              No. 2:20-cv-01719-RSL
 9    PARK, LLC, a Washington limited
      liability company,                        STIPULATED MOTION:
10
                           Plaintiffs,          (1) TO DISMISS CERTAIN PARTIES;
11
             v.                                 (2) TO REALIGN REMAINING
12                                              PARTIES;
      KINSALE INSURANCE COMPANY, a
13    foreign insurance company,                (3) TO SUBSTITUTE COUNSEL;
                                                AND
                             Defendant.
14
                                                (4) TO STAY LITIGATION
15
                                                NOTE ON MOTION CALENDAR:
16                                              12/23/2021

17    KINSALE INSURANCE COMPANY, a
      foreign insurance company,
18
                    Counterclaim and Third-
19                  Party Plaintiff,

20           v.

21    BARCELO HOMES, INC., a Washington
      corporation; BARCELO MADISON
22    PARK, LLC, a Washington limited
      liability company,
23
                    Counterclaim Defendant,

     STIPULATED MOTION - 1
                                                              LETHER LAW GROUP
     CASE NO. 2:20-cv-01719-RSL                       1848 WESTLAKE AVENUE N, SUITE 100
                                                               SEATTLE, WA 98109
                                                       P: (206) 467-5444 F: (206) 467-5544
           Case 2:20-cv-01719-RSL Document 45 Filed 12/27/21 Page 2 of 7



 1
             and
 2
      TRIBRACH CAPITAL, LLC, a
 3    Washington limited liability company;
      ODESSA CONDOMINIUM OWNERS
 4    ASSOCIATION, a Washington
      corporation; HENRY DAVID
 5    KENYON and MEREDITH WILKE
      KENYON, individuals and marital
 6    community; DANIEL LEVINE, an
      individual.
 7
                     Third-Party Defendants.
 8

 9
                                      I.      INTRODUCTION
10
            This insurance coverage dispute arose out of two underlying lawsuits: Odessa
11
     Condominium Owners Association, et al. v. Barcelo Madison Park, LLC, et al., King County
12
     Superior Court Case Number 19-2-14747-4; and Tribrach Capital v. Barcelo Homes, Inc. et
13
     al., King County Superior Court Case Number 19-2-19843-5.
14
            The underlying Odessa matter has fully settled and there no longer remains any
15
     actual and justiciable controversy in this matter regarding the Odessa parties. As such,
16
     Odessa Condominium Owners Association, Henry David Kenyon, Meredith Wilke Kenyon,
17
     Daniel Levine, and Barcelo Madison Park, LLC may be dismissed from this matter.
18
            The underlying Tribrach case was resolved by (among other things) Barcelo Homes,
19
     Inc. (BHI) assigning its rights against Kinsale to the claimant in that case, Tribrach Capital,
20
     LLC, who is represented by Tristan Swanson. Because Mr. Swanson’s client now possesses
21
     the remaining BHI claims asserted in this lawsuit, the parties seek to have Mr. Swanson
22
     substituted in as counsel for BHI. The remaining parties agree that within 30 days after entry
23
     of the Court’s Order, they will present a stipulated motion and proposed order granting

     STIPULATED MOTION - 2
                                                                        LETHER LAW GROUP
     CASE NO. 2:20-cv-01719-RSL                                 1848 WESTLAKE AVENUE N, SUITE 100
                                                                         SEATTLE, WA 98109
                                                                 P: (206) 467-5444 F: (206) 467-5544
           Case 2:20-cv-01719-RSL Document 45 Filed 12/27/21 Page 3 of 7



 1   Tribrach leave to file an Amended Complaint pursuant to LCR 15, and providing Kinsale

 2   with 30 days to file an Answer thereto.

 3          In addition, because the Tribrach case was resolved through a consent judgment

 4   settlement, the amount of that settlement will be subject to a RCW 4.22.060 Reasonableness

 5   Hearing before the King County Superior Court. The remaining parties to this action hereby

 6   jointly move for an Order Staying this case so that the parties may direct their efforts to the

 7   Reasonableness Hearing, with the exception of the stipulation and proposed order regarding

 8   amended pleadings, which the remaining parties will present within 30 days after entry of

 9   the Court’s Order.

10                                         II.     STIPULATION

11          Based on the foregoing, and in accordance with LCR 15 and LCR 83.2(b)(1), the

12   parties hereby Stipulate and Agree to the following:

13          1.      That Odessa Condominium Owners Association, Henry David Kenyon,

14   Meredith Wilke Kenyon, Daniel Levine, and Barcelo Madison Park, LLC should be

15   dismissed from this matter with prejudice and without recovery by or against them.

16          2.      That the parties should be realigned to reflect the current matters remaining in

17   dispute. Specifically, Tribrach Capital, LLC should be realigned as the Plaintiff in this

18   matter as the assignee of Barcelo Homes, Inc.

19          3.      That Tristan Swanson of Miller Nash LLP should be substituted as counsel

20   for Barcelo Homes, Inc. and that Todd C. Hayes and Harper│Hayes PLLC shall be granted

21   leave to withdraw as counsel for Barcelo Homes, Inc.

22          4.      That within 30 days after entry of the Court’s Order, the remaining parties

23   shall present a stipulated motion and proposed order granting Tribrach leave to file an


     STIPULATED MOTION - 3
                                                                        LETHER LAW GROUP
     CASE NO. 2:20-cv-01719-RSL                                 1848 WESTLAKE AVENUE N, SUITE 100
                                                                         SEATTLE, WA 98109
                                                                 P: (206) 467-5444 F: (206) 467-5544
           Case 2:20-cv-01719-RSL Document 45 Filed 12/27/21 Page 4 of 7



 1   Amended Complaint pursuant to LCR 15, and providing Kinsale with 30 days to file an

 2   Answer thereto.

 3          5.      That this matter should be otherwise stayed pending resolution of the

 4   Reasonableness Hearing in the Tribrach matter. The remaining parties propose that the

 5   Court order them to present a joint status report within twenty (20) days of completion of the

 6   Reasonableness Hearing.

 7          It is so stipulated.

 8          DATED this 23rd day of December 2021.

 9   HARPER | HAYES PLLC                           MILLER NASH LLP

10   By: s/ Todd C. Hayes                          By: s/ Tristan Swanson
         Todd C. Hayes, WSBA No. 26361                 Tristan Swanson, WSBA No. 41934
11       600 University Street, Suite 2420             Carolyn Mount, WSBA No. 55527
         Seattle, WA 98101                             Pier 70 2801 Alaskan Way, Suite 300
12       206.340.8010                                  Seattle, WA 98121
         todd@harperhayes.com                          206.624.8300
13       Withdrawing Attorneys for Plaintiffs          tristan.swanson@millernash.com
         Barcelo Homes, Inc. and Barcelo               carolyn.mount@millernash.com
14       Madison Park, LLC                             Substituting Attorneys for Plaintiff
                                                       Barcelo Homes, Inc. and attorneys for
15                                                     Third-party Defendant Tribrach
                                                       Capital, LLC
16
     LETHER LAW GROUP                              RAFEL LAW GROUP PLLC
17

18   By: s/ Eric J. Neal                           By: s/ Anthony L. Rafel
         Thomas Lether, WSBA No. 18089                 Anthony L. Rafel, WSBA No. 13194
19       Eric Neal, WSBA No. 31863                     4126 E. Madison St. Ste. 202
         1848 Westlake Avenue N. Ste. 100              Seattle, WA 98112
20       Seattle, WA 98109                             206.838.2660
         206.467-5444                                   arafel@rafellawgroup.com
21       tlether@letherlaw.com                         Attorneys for Third-Party Defendants
         eneal@letherlaw.com                           Odessa Condominium Owners
22       Attorneys for Defendant and Third-            Association, Henry David and
         Party Plaintiff Kinsale Insurance             Meredith Wilke Kenyon, and Daniel
23       Company                                       Levine


     STIPULATED MOTION - 4
                                                                        LETHER LAW GROUP
     CASE NO. 2:20-cv-01719-RSL                                 1848 WESTLAKE AVENUE N, SUITE 100
                                                                         SEATTLE, WA 98109
                                                                 P: (206) 467-5444 F: (206) 467-5544
            Case 2:20-cv-01719-RSL Document 45 Filed 12/27/21 Page 5 of 7



 1                                          III.   ORDER

 2          The Court has reviewed the above stipulation AND HEREBY ORDERS:

 3          1.      That Odessa Condominium Owners Association, Henry David Kenyon,

 4   Meredith Wilke Kenyon, Daniel Levine, and Barcelo Madison Park, LLC are hereby

 5   DISMISSED from this matter with prejudice and without recovery by or against them.

 6          2.      That the parties are hereby realigned to reflect the current matters remaining

 7   in dispute. The Plaintiff in this matter shall be Tribrach Capital, LLC, as the assignee of

 8   Barcelo Homes, Inc., and the Defendant/Counterclaimant shall be Kinsale Insurance

 9   Company.

10          3.      That within 30 days after entry of the Court’s Order, the remaining parties

11   shall present a stipulated motion and proposed order granting Tribrach leave to file an

12   Amended Complaint no later than thirty (30) days after entry of this Order.            Kinsale

13   Insurance Company shall file an Answer to Tribrach’s Amended Complaint within thirty

14   (30) days of Tribrach’s filing.

15          4.      That Tristan Swanson of Miller Nash LLP is substituted as counsel for

16   Barcelo Homes, Inc., and that Todd C. Hayes and Harper│Hayes PLLC are hereby granted

17   leave to withdraw as counsel for Barcelo Homes, Inc.

18          5.      That this matter is hereby STAYED pending resolution of the Reasonableness

19   Hearing in the Tribrach matter, except as provided in Paragraph 3 of this Order. The

20   remaining parties shall file a joint status report within twenty (20) days of completion of the

21   Reasonableness Hearing.

22   //

23   //


     STIPULATED MOTION - 5
                                                                        LETHER LAW GROUP
     CASE NO. 2:20-cv-01719-RSL                                 1848 WESTLAKE AVENUE N, SUITE 100
                                                                         SEATTLE, WA 98109
                                                                 P: (206) 467-5444 F: (206) 467-5544
           Case 2:20-cv-01719-RSL Document 45 Filed 12/27/21 Page 6 of 7



 1          DATED this 27th day of December, 2021.

 2

 3

 4
                                        ROBERT S. LASNIK
 5                                      UNITED STATES DISTRICT JUDGE

 6

 7

 8

 9   Presented by:

10   HARPER | HAYES PLLC                      MILLER NASH LLP

11
     By: s/ Todd C. Hayes                     By: s/ Tristan Swanson
12      Todd C. Hayes, WSBA No. 26361             Tristan Swanson, WSBA No. 41934
        Withdrawing attorneys for Barcelo         Substituting Attorneys for Plaintiff
13      Homes, Inc. and Barcelo Madison           Barcelo Homes, Inc. and attorneys for
        Park, LLC                                 Third-party Defendant Tribrach
14                                                Capital, LLC

15
     LETHER LAW GROUP                         RAFEL LAW GROUP PLLC
16

17   By: s/ Eric J. Neal                      By: s/ Anthony L. Rafel
         Thomas Lether, WSBA No. 18089            Anthony L. Rafel, WSBA No. 13194
18       Eric Neal, WSBA No. 31863                Attorneys for Third-Party Defendants
         Attorneys for Defendant and Third-       Odessa Condominium Owners
19       Party Plaintiff Kinsale Insurance        Association, Henry David and Meredith
         Company                                  Wilke Kenyon, and Daniel Levine
20

21

22

23


     STIPULATED MOTION - 6
                                                                  LETHER LAW GROUP
     CASE NO. 2:20-cv-01719-RSL                           1848 WESTLAKE AVENUE N, SUITE 100
                                                                   SEATTLE, WA 98109
                                                           P: (206) 467-5444 F: (206) 467-5544
           Case 2:20-cv-01719-RSL Document 45 Filed 12/27/21 Page 7 of 7



 1                                   CERTIFICATE OF SERVICE

 2          The undersigned hereby certifies under the penalty of perjury under the laws of the

 3   United States of America that on this date I caused to be served in the manner noted below a

 4   true and correct copy of the foregoing on the following party(ies):

 5   Todd C. Hayes
     Harper | Hayes LLC
 6   One Union Square
     600 University Street, Suite 2420
 7   Seattle, WA 98101
     todd@harperhayes.com
 8
     Tristan N. Swanson
 9   Carolyn A. Mount
     Miller Nash LLP
10   Pier 70
     2801 Alaskan Way, Suite 300
11   Seattle, WA 98121
     tristan.swanson@millernash.com
12   carolyn.mount@millernash.com

13   Anthony Rafel
     Rafel Law Group PLLC
14   4126 E. Madison St., Ste. 202
     Seattle, Washington 98112
15   arafel@rafellawgroup.com

16   By:        [X] ECF           [ ] First Class Mail

17          Dated this 23rd day of December, 2021 at Seattle, Washington.

18                                                   s/ Judy Tustison______
                                                     Judy Tustison, Paralegal
19

20

21

22

23


     STIPULATED MOTION - 7
                                                                        LETHER LAW GROUP
     CASE NO. 2:20-cv-01719-RSL                                 1848 WESTLAKE AVENUE N, SUITE 100
                                                                         SEATTLE, WA 98109
                                                                 P: (206) 467-5444 F: (206) 467-5544
